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Of Attorney for Defendants



                              UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF OREGON

                                     PORTLAND DIVISION

RADAGAST PET FOOD, INC., an                      Case No. 3:19-cv-01467-JR
Oregon corporation,
                                                 Defendant’s Centinela Feed, Inc.’s
                Plaintiff,                       ANSWER AND AFFIRMATIVE DEFENSES
                                                 TO PLAINTIFF’S FIRST AMENDED
       v.                                        COMPLAINT

CENTINELA FEED, INC., a
California corporation, and THE
LOTUS PET FOOD, INC., a
California corporation,

                Defendants.


       Defendant Centinela Feed, Inc. (“Defendant”) submits the following answer and

affirmative defenses to Plaintiff Radagast Pet Food, Inc.’s First Amended Complaint as follows:

                                 STATEMENT OF THE CASE

     1.      In response to paragraph 1 of the First Amended Complaint, Defendant lacks

sufficient information to either affirm or deny the allegation, and therefore deny the allegation.

                                            PARTIES

     2.      In response to paragraph 2 of the First Amended Complaint, Defendant lacks

sufficient information to either affirm or deny the allegation, and therefore deny the allegation.




PAGE 1 – DEFENDANT CENTINELA FEED, INC’S ANSWER AND AFFIRMATIVE DEFENSES TO PLAINTIFF’S FIRST AMENDED
COMPLAINT
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     3.    In response to paragraph 3 of the First Amended Complaint, Defendant admits the

allegations contained therein.

     4.    In response to paragraph 4 of the First Amended Complaint, Defendant lacks

sufficient information to either affirm or deny the allegation, and therefore denies the same.

                                   JURISDICTION AND VENUE

     5.    In response to paragraph 5 and 6 of the First Amended Complaint, Defendant admits

the allegations contained therein.

     6.    In response to paragraph 7 of the First Amended Complaint, Defendant lacks

sufficient information to either affirm or deny the allegation, and therefore denies the same.

     7.    In response to paragraph 8 of the First Amended Complaint, Defendant admits the

allegations contained therein.

                            FACTS COMMON TO ALL CLAIMS

     8.    In response to paragraph 9 of the First Amended Complaint, Defendant lacks

sufficient information to either affirm or deny the allegations, and therefore deny the allegations.

     9.    In response to paragraph 10 of the First Amended Complaint, Defendant admits the

allegations.

    10.    In response to paragraph 11 of the First Amended Complaint, Defendant lacks

sufficient information to either affirm or deny the allegation, and therefore denies the allegation.

    11.    In response to paragraph 12 of the First Amended Complaint, Defendant lacks

sufficient information to either affirm or deny the allegation as it implies a legal conclusion, and

therefore denies the allegation.

    12.    In response to paragraph 13 of the First Amended Complaint, Defendant admits the

allegations.

    13.    In response to paragraphs 14 through 39 of the First Amended Complaint, Defendant

lacks sufficient information to either affirm or deny the allegation and/or they infer multiple legal

conclusions, and therefore denies the same.


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                                         CLAIM FOR RELIEF

                                     (Breach of Contract – Written)

      14.         In response to paragraph 40 of the First Amended Complaint, Defendant realleges

and incorporates by reference the foregoing paragraphs as though fully set forth herein.

      15.         In response to paragraphs 41 through 45 of the First Amended Complaint, Defendant

denies the allegations.

                                      AFFIRMATIVE DEFENSES

            Without waiving the foregoing or assuming the burden of proof with respect to its

affirmative defenses, Defendant alleges the following affirmative defenses:

                                   FIRST AFFIRMATIVE DEFENSE

                                        (Failure to State a Claim)

            1.       The First Amended Complaint fails to state a claim against Defendant for which

relief can be granted.

                                 SECOND AFFIRMATIVE DEFENSE

                                                (Consent)

            2.       Plaintiff consented to the disclosure of the very information they claim is

confidential, and therefore cannot retroactively claim that the use of any disclosed information, if

any, is a violation deserving an award of damages.

                                  THIRD AFFIRMATIVE DEFENSE

                                              (Ratification)

            3.       Plaintiff ratified the disclosure of any claimed confidential information, and

therefore cannot retroactively claim that the use of any disclosed information, if any, is a

violation deserving an award of damages.

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PAGE 3 – DEFENDANT CENTINELA FEED, INC’S ANSWER AND AFFIRMATIVE DEFENSES TO PLAINTIFF’S FIRST AMENDED
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                               FOURTH AFFIRMATIVE DEFENSE

                                          (No Actual Injury)

         4.       At the time of disclosing the alleged confidential information, Plaintiff was out of

business. Even in the event the allegations set forth in Plaintiff’s First Amended Complaint are

true, which Defendant strongly disagrees, Plaintiff experienced no actual injury or harm

deserving of an award of damages.

         5.       Furthermore, Nominal Damages cannot be sought under a breach of contract

claim as breach of contract requires actual damages to be proven. No actual damages are alleged

or can be proven.

                                FIFTH AFFIRMATIVE DEFENSE

                                (Speculative and Nominal Damages)

         6.       Plaintiff is seeking to recover damages that are completely speculative in nature,

entirely nonexistent, or not permitted under Oregon law. Oregon law does not permit a party

bringing a claim for breach of contract to seek nominal damages as proof of actual damages.

Therefore, this case should be dismissed with prejudice, declaring Defendant as the prevailing

party.

                                SIXTH AFFIRMATIVE DEFENSE

                                      (Complete Performance)

         7.       Defendant is discharged from all liability due to fully performing and discharging

all duties.

                              SEVENTH AFFIRMATIVE DEFENSE

                                          (Prevailing Party)

         8.       Defendant has defended this case for nearly one year which has resulted in the

Plaintiff removing their claim for $150,000 and subsequently is now seeking nominal damages

after the filing of the Amended Complaint. As such, the Defendant is the prevailing party in this

action and under the NDA, and requests a return of its attorney fees expended in this matter.


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       9.       Furthermore, Defendant has previously consented to inspection of all requested

electronic storage devices, and has satisfied the remaining requests set forth in Paragraph A of

Plaintiff’s Prayer for Relief, making any subsequent litigation, expenses, and attorney fees

incurred by either party frivolous and unwarranted.

   RESERVATION OF RIGHTS TO ALLEGE OTHER AFFIRMATIVE DEFENSES

       Defendant reserves the right to assert additional defenses that are supported by

information or facts obtained through discovery or other means during this case and expressly

reserves the right to amend this response to assert such additional affirmative defenses.

       WHEREFORE, Defendant Centinela Feed, Inc. prays as follows:

       1.       That Plaintiff’s First Amended Complaint be dismissed with prejudice, and that

judgment be entered in favor of Defendant.

       2.       That Defendant be awarded its reasonable attorney fees pursuant to the terms of

the agreement at issue, at equity, and as the prevailing party;

       3.       That Defendant be awarded it costs (including expert fees) and disbursements

herein; and

       4.       For such other and further relief as the Court deems just and proper.

       DATED this 20th day of November, 2020.

                                              BITTNER & HAHS, P.C.



                                              By:       s/Eric S. Postma
                                                    Eric S. Postma, OSB #993478
                                                    Nathan B. Pogue, OSB #164611
                                                    Of Attorneys for Defendants




PAGE 5 – DEFENDANT CENTINELA FEED, INC’S ANSWER AND AFFIRMATIVE DEFENSES TO PLAINTIFF’S FIRST AMENDED
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 1                                    CERTIFICATE OF SERVICE

 2          I hereby certify that on the 20th day of November, 2020, I served the foregoing

 3   DEFENDANT CENTINELA FEED, INC.’S ANSWER AND AFFIRMATIVE DEFENSES

 4   TO PLAINTIFF’S FIRST AMENDED COMPLAINT on the following individuals:

 5   Laura Salerno Owens, OSB #076230
     Adam M. Starr, OSB #125393
 6   Molly K. Honoré, OSB #125250
     Markowitz Herbold PC
 7   1455 SW Broadway, Suite 1900
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 8   E: laurasalerno@mhgm.com
        adamstarr@markowitzherbold.com
 9      mollyhonore@markowitzherbold.com

10   Of Attorneys for Plaintiff

11
                    mailing to said person a complete and correct copy thereof, contained in a sealed
12
     envelope, addressed as set forth above and deposited in the United States mail in Lake Oswego,
13
     Oregon, with postage thereon prepaid, on said day.
14
                    emailing to said person at the email address set forth above, a complete and
15
     correct copy thereof, on said day.
16
                    hand delivering to said attorneys a complete and correct copy thereof, contained
17
     in a sealed envelope, at the address set forth above, on said day, and leaving it with the attorneys’
18
     clerk, or person apparently in charge of the office, or in a conspicuous place therein if no one
19
     was apparently in charge of the office.
20
            DATED this 20th day of November, 2020.
21
                                                   BITTNER & HAHS, P.C.
22

23                                              By: S/Eric S. Postma
24                                                 Eric S. Postma, OSB #993478
                                                   Nathan B. Pogue, OSB #164611
25                                                 Of Attorneys for Defendants

26


     Page 1 - CERTIFICATE OF SERVICE
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